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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA
                                     BRUNSWICK DIVISIO N


       UNITED STATES OF AMERIC A

                      Plaintiff

           VS .                                         CASE NUMBER : CR205-37- 8

       BRIDGETTE REYNOLDS

                      Defendant



                                        CLERK'S CERTIFICATE/ORDER


               The Clerk hereby certifies that          GLORIA A . REYNOLD S

    has deposited with the Court the sum of $     2,500 .00          under F .R .Cv .P . 67 . The money,

    designated as Registry funds, is hereby ORDERED to be deposited in an interest bearing account

    in accordance with the general order of this Court, entered September 23, 1983 .

               DONE this 30TH       day of       AUGUST 2005                        , by Order of this Court .




                                                              SCOTT L . POFF, CLERK




                                                              Bv :




(Rev . 9/02)
